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             IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION



KELVIN LEON JONES et al.,

                 Plaintiffs,
                                               CONSOLIDATED
v.                                             CASE NO. 4:19cv300-RH/MJF

RON DeSANTIS et al.,

                 Defendants.

_________________________________________/


                            ORDER CONFIRMING THE SCHEDULE


        The August 15, 2019 scheduling order set September 16 as the deadline to

file declarations and exhibits but allowed rebuttal declarations and exhibits to be

filed by September 23. The order defined rebuttal declarations and exhibits.

        The plaintiffs filed on September 23 a “supplemental declaration and exhibit

list” that listed 108 exhibits but attached none. ECF No. 165. The plaintiffs

purported to reserve the right to further supplement their list. The reservation is

meaningless.

        On September 24, after this order was prepared but before it was filed, the

plaintiffs filed most of the exhibits included on the September 23 list.



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        The defendants consented to an earlier late filing that resulted from technical

difficulties with the electronic filing system. ECF No. 161. But the defendants

apparently anticipated a filing of the kind the plaintiffs now have made, and the

defendants said they did not consent to further late filings. Id. at 3.

        A party who wishes to file a declaration or exhibit after the deadline

established by the August 15 order must file a motion for leave to do so. The

declaration or exhibit must be attached to the motion for leave (but the plaintiffs

need not file another copy of the exhibits they filed on September 24 without

seeking leave). Unless a motion for leave is consented, it must by accompanied by

a memorandum showing good cause for the failure to meet the deadline. See Fed.

R. Civ. P. 16(b)(4).

        On any motion for leave to file a declaration or exhibit after the deadline,

two of the considerations will be (1) the length of time between the deadline and

the filing, and (2) the length of time between when the filing party learned or with

diligence should have learned the relevant information, on the one hand, and the

filing, on the other hand.

        IT IS ORDERED:

        The August 15, 2019 scheduling order remains in place.

        SO ORDERED on September 24, 2019.

                                         s/Robert L. Hinkle
                                         United States District Judge

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